Case: 16-2404    Document: 57      Page: 1         Date Filed: 02/06/2018   Entry ID: 6148823




                United States Court of Appeals
                               For the First Circuit

 No. 16-2404

                                     UNITED STATES,

                                         Appellant,

                                              v.

                                 MICHELLE L. THOMAS,

                                    Defendant - Appellee.


                                        MANDATE

                                  Entered: February 6, 2018

        In accordance with the judgment of January 12, 2018, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                             By the Court:

                                             /s/ Margaret Carter, Clerk


 cc:
 Michael C. Bourbeau
 Dina Michael Chaitowitz
 Randall Ernest Kromm
 Douglas Neal Letter
 Scott R. McIntosh
 Amanda Masselam Strachan
 Daniel Tenny
 George P. Varghese
